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             EXHIBIT B
     Case
      Case5:23-cv-01350-JKP-ESC
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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS


 GLOBAL WEATHER PRODUCTIONS, LLC,
                                                         Case No: 5:23-cv-01350-JKP-ESC
                       Plaintiff,

                           v.

 JOE PAGS MEDIA, LLC,

                      Defendant.



                                 CERTIFICATE OF SERVICE

I hereby certify that on January 18, 2024, I caused to be served via USPS certified mail a copy of
the summons, complaint with the underlying exhibits, and the Referral Order [ECF Nos. 1-6] on
defendant via its last known business address:


       Joe Pags Media, LLC
       c/o Joseph J Pagliarulo
       287 Coyote Trail
       Spring Branch, TX 78070

                                             By: /s James H. Freeman /
                                                     James H. Freeman
     Case
      Case5:23-cv-01350-JKP-ESC
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                              CERTIFICATE OF SERVICE

On January 19, 2024, the foregoing was served via CM/ECF on all counsel of record.


                                           By: /s James H. Freeman /
                                                   James H. Freeman
